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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION

UNITED STATES OF AMERICA
ex rel. KEVIN GRAY                                                                   PLAINTIFF


v.                                              CIVIL ACTION NO.: 3:15-cv-127-MPM-JMV


MITIAS ORTHOPAEDICS, PLLC; CHAMPION
ORTHOPAEDICS DESOTO, P.L.L.C. d/b/a
CHAMPION ORTHOPAEDICS & SPORTS
MEDICINE; and HANNA M. MITIAS, M.D.                                               DEFENDANTS


                         ORDER DENYING MOTION TO COMPEL

        Before the court is Relator’s [327] Motion to Compel Discovery Relating to Relator’s

Attorneys’ Fees Claim. For the following reasons, the motion is denied.

        In his motion, Relator seeks answers to discovery concerning the fees and expenses of

Defendants’ counsel. However, as of the date of this order, Relator has not filed a petition for

fees and expenses, nor is it clear what, if any, objections will be made by defendants thereto, and

consequently, what discovery, if any, might be warranted. Additionally, no discovery has even

been properly propounded in this case and the discovery period has expired. While the court

appreciates that discovery as to fees and expenses may be appropriate in the future, a motion to

compel the same before the petition or objections thereto, if any, are made and before discovery

has even been formally propounded is premature.

        Accordingly, the court finds that the motion is not well taken, and it is DENIED.

        SO ORDERED, this the 23rd day of January, 2023.

                                              /s/ Jane M. Virden
                                              UNITED STATES MAGISTRATE JUDGE
